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IN THE UNITED STATES DISTRICT
FOR THE MIDDLE DISTRICT OF FLORIDA ©
JACKSONVILLE DIVISION mont tty AO

JOHN GARY HARDWICK, JR.

Petitioner

v. CASE NO. 97-2319
Bq5-cv- ZSOC -STS
JAMES CROSBY, Secretary,
Florida Department of Corrections

Respondent

PETITIONER’S WITNESS AND EXHIBIT LIST AND
REQUEST FOR CASE MANAGEMENT MEETING

COMES NOW, JOHN GARY HARDWICK, JR., by and through
undersigned counsel and hereby provides Petitioner’s witness and
exhibit list and requests a case management meeting in the above
case. In support thereof, Mr. Hardwick argues:

1. This Court ordered that Mr. Hardwick provide a witness
and exhibit list by October 14, 2003 in the above matter.
Enclosed please find Petitioner’s witness and exhibit lists as
ordered by this Court. Simultaneously, Mr. Hardwick requests
leave to amend this list as counsel continues to go through the

forty boxes that were finally provided by the now defunct CCRC-

North office.
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2.

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In addition, Mr. Hardwick requests that a case

Management hearing be set at a time convenient to the Court and

all parties in which counsel may raise some preliminary issues

regarding the case.?

list:

3.

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Mr. Hardwick would provide the following witness

All of the witnesses listed in the State’s witness list

previously filed in this Court.

Nee Juanita McCoy;
Wash Wayne McCoy;
Ricky Rule;

Nell Lawrence;
Mary Braddy;
Charles Kesinger;
Daniel DiMaggio;
Erika Johnson;
Jasper Davis;

Jeff Hardwick;
Grace Powell;
James Hardwick;
Florrie Benton;
Grady Hardwick;
Donna Darlene Hardwick;
James Britt;

Jerry Hardwick;
Rosemary Mason;
Jeff Bartley;
David Buettner;
Connie Wright;

Dr. Barnard;

Dr. Henry Dee;

Dr. Clifford Levin;

'The only dates on which counsel for Mr.
previously engaged is the month of November.

will be acceptable to Mr. Hardwick.

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Hardwick is
Any other dates
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4.

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Ms. Ann Finnell;

Mr. Frank

Tassone;

Mr. Thomas Dunn;
Mr. Billy Nolas;
Mr. Gary Hendrix;

Any necessary custodians of record,

i.e. Duval County

clerk of court and Board of County Commissioners,
Florida and South Carolina Department or Board of

Education,

and Department of Corrections.

The following are the list of exhibits that Mr.

Hardwick would offer:

a.

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All appendices from original Rule 3.850 and its
amendments;

The affidavits admitted into evidence at the prior Rule
3.850 hearing and relied upon by the 11°* Circuit Court

of Appeals

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i.e.:

Erika Johnson (Rule 3.850 Appendix #15);
Nell Lawrence (Rule 3.850 Appendix #13);
Jeff Hardwick (Rule 3.850 Appendix #20) ;
Mary Braddy (Rule 3.850 Appendix #17);
Grace Powell (Rule 3.850 Appendix #11);
James Hardwick (Rule 3.850 Appendix #10) ;
Florrie Benton (Rule 3.850 Appendix #8);
Grady Hardwick (Rule 3.850 Appendix #9);
James Britt (Rule 3.850 Appendix #12);
Jerry Hardwick (Rule 3.850 Appendix #19);
Rosemary Mason (Rule 3.850 Appendix #18);
Jeff Bartley (Rule 3.850 Appendix #21) ;
Connie Wright (Rule 3.850 Appendix #14);

Psychological Report-South Carolina Department of Youth
Services (7-93) (Rule 3.850 Appendix #2);

Psychological Report-Dr. Clifford Levin (Rule 3.850
Appendix #4) ;

Psychological Report-Dr. Henry Dee (Rule 3.850 Appendix

#6) ;

Letter dated November 26,

1975 from high school

principal/guidance counselor South Carolina (Rule 3.850
Appendix #2).
All evidence admitted at trial conducted on March 26-

27, 1986.
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u. All evidence admitted at the evidentiary hearings
conducted on February 22, 1990, May 3-4, 1990, August
15-16, 1990.

Vv. G.E.D. diploma and certification from Florida
Department of Education and Department of Corrections;
Ww. Duval County Board of Commissioners billing from Frank

Tassone re: Hardwick v. State and payments made.

S. In addition, Mr. Hardwick would ask the Court to take
judicial notice of the record on appeal of all of Mr. Hardwick’s
underlying cases. See, Hardwick v. State, 521 So. 2d 1071 (Fla.
1988); Hardwick v. Florida, 108 S. Ct. 2864 (1988); Hardwick v.
Florida, 109 S. Ct. 185 (1988); Hardwick v. Dugger, 648 So. 2d
100 (Fla. 1994); Hardwick v. Singletary, 122 F. 3d 935(11 Cir.
1997); Hardwick v. Singletary, 126 F. 3d 1312 (11th Cir. 1997);
and Hardwick v. Crosby, 320 F. 3d 1127 (11°° Cir. 2003).

WHEREFORE, for the foregoing reasons, Mr. Hardwick
moves this Court to accept the above witness and exhibit lists,
allow leave for Mr. Hardwick to amend this list as becomes and
necessary and to schedule a case management hearing at a time
convenient to the Court and all parties.

CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing
Petitioner’s Witness and Exhibit List and Request for Case
Management Meeting has been furnished by First Class U.S. Mail,
postage prepaid on October 13, 2003 to: Honorable Henry Lee

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Adams, Jr., 110 U.S. Courthouse & Post Office Bldg., 311 W.
Monroe St., Jacksonville, FL 32202-4242; Sheryl L. Loesch, Clerk
of Court, 110 U.S. Courthouse & Post Office Bldg., 311 W. Monroe
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Attorney General, The Capitol, The Department of Legal Affairs,
Tallahassee, FL 32399-1050; Mr. George Bateh and Stephen Siegel,

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Zl bidea,

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cc:

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Sheryl L. Loesch

Clerk of Court

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